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 7
                                   UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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12    LATEACHEEAH G. ANDERSON SALVATTO,)                     Case No. CIV.S 04- 0163 WBS GGH
      and RICHARD SALVATTO, individually and as )
13
      Guardians for JAMAL THROWER, a minor,     )
14                                              )
             Plaintiffs,                        )            DECLARATION OF LATEACHEEAH
15                                              )            SALVATTO IN SUPPORT OF MOTION
      vs.                                       )            TO CONTINUE MOTION FOR
16                                              )            SUMMARY JUDGMENT
17    COUNTY OF SOLANO, CITY OF VALLEJO, )
      COUNTY OF SOLANO SHERIFF’S                )
18    DEPARTMENT, LIEUTENANT LIDDICOET, )
      OFFICER K. McCARTHY, VALLEJO POLICE )
19    DEPARTMENT, WATCH COMMANDER K. )
      SCHROEDER, CORPORAL B. CLARK,             )
20
      OFFICER WHITNEY,                          )
21                                              )
             Defendants.                        )
22    _________________ _______             __/
23
             I, LaTeacheeah Salvatto, declare:
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25           1.      I am the plaintiff in the above entitled action and, if called as a witness in this

26    case, I can and will testify competently to the matters contained in this declaration based upon
27    my personal knowledge.
28                                                   -1-
         DECLARATION OF LATEACHEEAH IN SUPPORT OF MOTION TO CONTINUE MOTION FOR
                                           SUMMARY JUDGMENT
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 1           2.      In January 2003, I retained attorney Donald Beury to represent me in this civil
 2    action after he represented me in a criminal case that is the basis of this civil action. To my
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      knowledge, Mr. Beury never conducted any discovery in my civil case, although I constantly
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      asked him to do so and discussed with him various issues that needed to be discovered. On
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      January 14, 2005, Mr. Beury wrote me and informed me that in his opinion, he thought that I had
 6
 7    a great case. He requested money from me to pay for depositions. I continued to press him to

 8    conduct discovery, and he led me to believe that while the depositions had not yet been taken,
 9    that other forms of discovery were being conducted.
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             3.      On August 30, 2005, I continued to press Mr. Beury on taking the depositions of
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      the defendants. Mr. Beury stopped communicating with me. On September 15, 2005, I
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      contacted Mr. Beury and paid him $2,500 as costs for the depositions to be taken. I had also
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14    pressed him to perform the other aspects of discovery that we had discussed. I did not know at

15    that time that discovery had been closed since August 8, 2005.
16           4.      I met with attorney Jeffrey Fletcher on October 13, 2005, to discuss my case. I
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      wanted Mr. Beury off my case because I believed that he was going to cause the case to be
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      dismissed. Because I could not explain the full status of my case to Mr. Fletcher, the plan was to
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      substitute myself In Pro Per and ask the court to allow Mr. Fletcher to substitute in as counsel,
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21    allow an amended complaint to be filed, and to re-open discovery.

22           5.      After I concluded my meeting with Mr. Fletcher, I went to Mr. Buery’s office to
23    obtain my file and to sign a substitution of attorney. Mr. Buery refused to substitute out of the
24
      case and refused to give me my file or a copy of my file. He was totally uncooperative. I also
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      sought the return of my $2,500, but he said that he was too busy to pay me at that time.
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28                                                   -2-
         DECLARATION OF LATEACHEEAH IN SUPPORT OF MOTION TO CONTINUE MOTION FOR
                                          SUMMARY JUDGMENT
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 1           6.      On or about November 11, 2005, I received a letter from Mr. Beury stating that
 2    there was a motion for summary judgment and that he had forwarded the substitution of attorney
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      to Mr. Fletcher.
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             7.      I never committed a fraud or misrepresentation to Mr. Beury. The only time that
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      Mr. Beury ever accused me of fraud or misrepresentation was after I obtained new counsel and it
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 7    was clear that he took my money for the payment of the depositions after discovery had closed.

 8           I declare under penalty of perjury under the laws of the State of California that the
 9    foregoing is true and correct. This declaration is executed in Sacramento, California on
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      December 5, 2005.
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                                                    _/s/_LaTeacheeah Salvatto________
12                                                        LaTeacheeah Salvatto
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         DECLARATION OF LATEACHEEAH IN SUPPORT OF MOTION TO CONTINUE MOTION FOR
                                          SUMMARY JUDGMENT
